      Case: 1:17-cv-01232 Document #: 12 Filed: 07/19/17 Page 1 of 2 PageID #:28



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Ernest Tillett,                                        )
                                                       )
                  Plaintiff,                           )
                                                       )      Case No. 1:17-cv-01232
v.                                                     )
                                                       )      Judge Milton I. Shadur
Steven J. Fink & Associates, P.C.,                     )
                                                       )      Magistrate Judge: Sheila Finnegan
                  Defendant.                           )
                                                       )
                                                       )

                                  NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE that Defendant Steven J. Fink & Associates, P.C.,
("Defendant"), by and through its undersigned counsel, hereby notifies the Court that Plaintiff and
Defendant have resolved all claims between them in this matter and are in the process of completing
the final closing documents and filing the dismissal. Defendant anticipates that the settlement will
be completely finalized within the next 30 days. Therefore, Defendant requests that this honorable
Court vacate all dates and deadlines currently set on the court's calendar.


                                                Respectfully submitted,


                                                     Steven J. Fink & Associates, P.C.,

                                                     Defendant


                                                     s/Brandon S. Stein
                                                     David M. Schultz
                                                     Brandon S. Stein
                                                     Hinshaw & Culbertson LLP
                                                     222 North LaSalle Street, Suite 300
                                                     Chicago, IL 60601-1081
                                                     Tel: 312-704-3000
                                                     E-mail: dschultz@hinshawlaw.com
                                                     E-mail: bstein@hinshawlaw.com




                                                                                       300203629v1 0998375
     Case: 1:17-cv-01232 Document #: 12 Filed: 07/19/17 Page 2 of 2 PageID #:29



                                  CERTIFICATE OF SERVICE

       I hereby certify that on July 19, 2017, I electronically filed with the Clerk of the U.S. District
Court, Northern District of Illinois Eastern Division, the foregoing Notice of Settlement by using
the CM/ECF system, which will send notification of such filing(s) to all parties of record.


                                                       /s/ Brandon S. Stein
                                                       Brandon S. Stein




                                                   2
                                                                                        300203629v1 0998375
